Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 1 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 2 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 3 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 4 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 5 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 6 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 7 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 8 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 9 of 20




                                                          Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 10 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 11 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 12 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 13 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 14 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 15 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 16 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 17 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 18 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 19 of 20




                                                           Exhibit 144
Case 5:18-cr-00227-SLP Document 232-142 Filed 04/01/22 Page 20 of 20




                                                           Exhibit 144
